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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ANDRE R. JOHNSON
                                                Civil Action
              Plaintiff,                        File No. _________________

 v.                                             Removed from State Court of
                                                Fulton County, Civil Action File
 THE KROGER CO.,                                No. 23EV004834

              Defendant.                        JURY TRIAL DEMANDED


       DEFENDANT THE KROGER CO.’S NOTICE OF REMOVAL


      COMES NOW, Defendant The Kroger Co. (“Defendant”), by and through

the undersigned counsel, and hereby files this Notice of Removal, showing the Court

as follows:

                                           1.

      On August 8, 2023, this action was filed in the State Court of Fulton County,

Georgia, said county being a part of the Northern District of Georgia. See N.D.G.A.

Local Rule 3.1(A), LR App. A, I. As such, the Atlanta Division of the United States

District Court for the Northern District of Georgia is the proper venue for removal

in this instance, as set forth further below.
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                                          2.

      The action is a civil action for alleged professional malpractice, and the United

States District Court for the Northern District of Georgia has jurisdiction by reason

of the diversity of citizenship of the parties, and the amount in controversy.

                                          3.

      The amount of damages in dispute exceeds the statutory amount in

controversy of $75,000.00, exclusive of interest and costs, as the Plaintiff demanded,

in writing, a sum of nine-hundred fifty-thousand dollars ($950,000.00) to resolve

Plaintiff’s claims against The Kroger Co. (See Exhibit A, Plaintiff’s Demand.)

                                          4.

(a)   At the time of the commencement of this action in the State Court of Fulton

County, Plaintiff Andre R. Johnson was and is now a citizen of Georgia.

(b)   At the time of the commencement of this action, Defendant Kroger was and

is still now a foreign corporation, organized and existing under the laws of the State

of Ohio with its principal place of business in Ohio, and is thus a citizen of Ohio.

                                          5.

      A true and correct copy of all process, pleadings, and orders served upon

Defendant in this action are attached hereto as Exhibit B.




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                                         6.

      The instant Notice of Removal is timely filed pursuant to and in accordance

with 28 U.S.C. § 1446(c)(1) within thirty (30) days after the receipt by Defendant’s

counsel of Plaintiff’s Summons and Complaint, attached as part of Exhibit B.

                                         7.

      Furthermore, the instant Notice of Removal is timely filed pursuant to and in

accordance with 28 U.S.C. § 1446(c)(1) within one (1) year of the commencement

of the action.

                                         8.

      Accordingly, this action, over which the United States District Court for the

Northern District of Georgia has original jurisdiction under 28 U.S.C. § 1332, is

removable to the United States District Court for the Northern District of Georgia

pursuant to 28 U.S.C. § 1441.

                                         9.

      Venue is proper in the Atlanta Division of the United States District Court for

the Northern District of Georgia pursuant to 28 U.S.C. §§ 1391 and 1441, and

N.D.G.A. Local Rule 3.1(B)(1)(a). Specifically, Plaintiff’s Complaint was filed in

the Superior Court of Fulton County, which is part of the Atlanta Division. See

N.D.G.A. Local Rule 3.1(A), LR App. A, I.




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                                         10.

      As required by 28 U.S.C. § 1446(d), Defendant shall give written notice

hereof to all adverse parties and shall file a copy of this Notice of Removal with the

Clerk of the State Court of Cobb County.

      WHEREFORE, Defendant The Kroger Co. requests that this action proceed

in this Court as an action properly removed thereto.

      Respectfully submitted this 8th day of September, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                   /s/ Marc Hood
950 East Paces Ferry Road, N.E.             Matthew G. Moffett
Suite 1700 – Salesforce Tower Atlanta       Georgia State Bar No.: 515323
Atlanta, Georgia 30326                      Marc Hood
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  CERTIFICATE OF SERVICE AND OF COMPLIANCE WITH L.R. 5.1

      This is to certify that on this date, the undersigned filed a true and correct copy

of the foregoing pleading with the Clerk of Court using the CM/ECF system and

served all parties of record via electronic service through the CM/ECF system to:

                              Paul I. Hotchkiss, Esq.
                             Maggie L. Stewart, Esq.
                            Hotchkiss Law Firm, LLC
                               185 E. Lake Ter. SE
                             Atlanta, Georgia 30317
                           paul@hotchkisslawfirm.com
                          maggie@hotchkisslawfirm.com
                               Counsel for Plaintiff


      Further, this is to certify that the foregoing pleading complies with the font

and point selections approved by the Court in Local Rule 5.1. It is prepared in Times

New Roman 14-point font.

      Dated this 8th day of September, 2023.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                    /s/ Marc Hood
950 East Paces Ferry Road, N.E.              Matthew G. Moffett
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